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                            UNITED STATES DISTRICT COURT
                            W ESTERN DISTRICT OF NEW YORK


_________________________________

UNITED STATES OF AMERICA,


vs.                                                  DECISION AND ORDER
                                                     08-CR-6210
FELIX VASQUEZ, SR.,

               Defendant.

__________________________________


                                        INTRODUCTION

       This matter is before the Court on Defendant’s application to unseal the February 24,

2009 in camera examination of a confidential informant upon which the Government relied

in support of its motion to revoke Defendant’s pre-trial release, as well as for a protective

order relating to the transcript. For the reasons stated below, the application is denied.

                                         DISCUSSION

       In addition to being charged in the subject indictment, Defendant also stands accused,

along with four other individuals, in indictment # 10-CR-0233-W MS HKS, United States v.

Jose Martinez, et. al., filed in U.S. District Court in Buffalo. This indictment contains “special

findings,“ making it a death penalty case as to all defendants. Defendant              essentially

maintains that , since the confidential informant provided information concerning the homicide

referenced in the Buffalo case, the transcript at issue is relevant to his mitigation investigation

and then presentation of his argument to the Attorney General should not pursue the death

penalty as to him. . In his memorandum of law submitted in support of Defendant’s motion to
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unseal and for a protective order, defense counsel, concedes that while, there is law, “relating

to the expanded rights in capital cases-especially as it relates to mitigation,” he has “spent

several hours conducting legal research in an attempt to find law relating specifically to the

Court’s authority to unseal the transcript of the testimony of the confidential informant,” but

that he was unable to find any on this point. Memorandum (Docket #683), March 18, 2011,

¶ 1,2.

         The Government opposes Defendant’s application, and points out that, to the extent

Defendant’s application is viewed as a type of Brady request, district courts in this circuit and

others have denied requests for early disclosure of Brady material in death penalty cases.

United States v. Williams, 181 F.Supp.2d 267, 298 (S.D.N.Y. 2001); United States v.

Pray__,_F.Supp 2d__, 2011 W L         547711 (D.D.C. 2011). The Government analogizes

Defendant’s applications as one for Jenks material, and, in that regard, contends that the

Court should look to the time frame set forth in the Jenks Act for the disclosure of witness

statements, since the Government maintains that disclosure of the transcript at this time might

well jeopardize the safety of the confidential informant.

         After due consideration, the Court is persuaded by the Government’s argument, and

Defendant’s application is denied.

                                        CONCLUSION

         Accordingly, Defendant’s application (Docket # 658) to unseal the in camera transcript

of the examination of the confidential informant and for a protective order is denied.

IT IS SO ORDERED

DATED:          May 4, 2011
                Rochester, New York
                                            /s/ Charles J. Siragusa
                                            CHARLES J. SIRAGUSA
                                            United States District Judge
